 

	
	
	
	
	OSCN Found Document:IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

	
	
	

	
	
	
	
	
	
	
	

	


					
	
        
            	
			
				


     
    OSCN navigation


    
        
        Home

        
        Courts

        
                
	    Court Dockets
			 

        
        Legal Research

        
        Calendar

        
        Help
    
    







				
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
				
			
            
        

        
            
				
				IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2017 OK 44Case Number: SCBD-6510Decided: 05/30/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 44, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 

&nbsp;


&nbsp;


IN THE MATTER OF THE SUSPENSION OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONPAYMENT OF 2017 DUES




ORDER OF SUSPENSION FOR NONPAYMENT OF 2017 DUES


On May 19, 2017, the Board of Governors of the Oklahoma Bar Association filed an Application for the suspension of Oklahoma Bar Association members who failed to pay dues for the year 2017 as required by the Rules Creating and Controlling the Oklahoma Bar Association (Rules), 5 O.S. 2011, ch. 1, app. 1, art. VIII, §1. The Board of Governors recommended that the members whose names appear on the Exhibit A attached to the Application be suspended from membership in the Oklahoma Bar Association and from the practice of law in the State of Oklahoma, as provided by the Rules, 5 O.S. 2011, ch. 1, app. 1, art. VIII, §2.

This Court finds that on April 14, 2017, the Executive Director of the Oklahoma Bar Association notified by certified mail all members delinquent in the payment of dues and/or expense charges to the Oklahoma Bar Association for the year 2017. The Board of Governors have determined that the members set forth in Exhibit A, attached hereto, have not paid their dues and/or expense charges for the year as provided in the Rules.

This Court, having considered the Application of the Board of Governors of the Oklahoma Bar Association, finds that each of the Oklahoma Bar Association members named on Exhibit A, attached hereto, should be suspended from the Oklahoma Bar Association membership and shall not practice law in the State of Oklahoma until reinstated.

IT IS THEREFORE ORDERED that the attorneys named on Exhibit A, attached hereto, are hereby suspended from membership in the Association and prohibited from the practice of law in the State of Oklahoma for failure to pay membership dues for the year 2017 as required by the Rules Creating and Controlling the Oklahoma Bar Association.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 30TH DAY OF MAY, 2017.


/S/CHIEF JUSTICE


ALL JUSTICES CONCUR


&nbsp;


&nbsp;

EXHIBIT A
(DUES - SUSPENSION)

Kenneth Robert Baily, OBA #12056
32496 Bergamo Crt.
Temecula, CA 92592

Colin Richard Barrett, OBA #31936
201 Robert S. Kerr, Ste. 700
Oklahoma City, OK 73102

Jack Douglas Been, OBA #31900
1405 N. Old North Place
Sand Springs, OK 74063-8987

Steven Alex Bellanti, OBA #31342
3166 E. Phillips Dr.
Centennial, CO 80122

James R. Bond, OBA #14436
3838 N.W. 36th St., Ste. 107
Oklahoma City, OK 73112-6363

Mary Jo Bowman, OBA #12223
State Farm Insurance Co.
3333 Michelson Dr., Ste. 300
Irvine, CA 92612-1686

Kristen Mark Boyd, OBA #19640
11300 N. Rodney Parham, Ste. 320
Little Rock, AR 72212

Stacy Loraine Burgan, OBA #14065
6204 N.W. 84th Pl.
Oklahoma City, OK 73132

Stephanie M. Burke, OBA #17585
1720 Westmister Pl.
Oklahoma City, OK 73112

Charles Lawrence Case Jr., OBA #15700
1603 S. 101st E. Ave., # 131
Tulsa, OK 74128

John Raymond Cathey, OBA #10236
229 Alder Lane
Boulder, CO 80304

Michael David Collins, OBA #13469
4300 Rogers Ave., Ste. 45
Fort Smith, AR 72903

M. Frederick Conlin Jr., OBA #12247
1515 Frost Dr.
College Station, TX 77845

Charles N. Cottrell, OBA #32588
4511 Briarwood Terrace
Marshall, TX 75672

Nancy Leah Sisson Davis, OBA #14398
18350 Hatteras St., #220
Tarzana, CA 91356

Teresa B. Davis, OBA #14949
14840 Hwy. 25170
Marshall, NC 28753

Jacqueline Cronkhite Dodd, OBA #30851
17 N. 6th St.
P.O. Box 1526
Fort Smith, AR 72902-1526

Jamie Dawn Dunkel, OBA #22407
4209 Horseshoe Bend
Matthews, NC 28104

Kristin Foster, OBA #30078
1080 Bergen Street, #188
Brooklyn, NY 11216

Nicole Suzette Weeks Fowler, OBA #18557
2718 N. Emerald
Fayetteville, AR 72703

Sara Ruth Garrett, OBA #31907
129 E. 46th St., Apt. 5
Kansas City, MO 64112

Ryan Patrick Goodwin, OBA #32403
1814 E. 72nd St., Apt. 1615
Tulsa, OK 74136

Robert Ford Gruber, OBA #32000
1409 Brighton Avenue
Oklahoma City, OK 73120

Heather Lin Hammond, OBA #18720
P. O. Box 398
530 East Main Street
Ada, OK 74821

Todd Maxwell Henshaw, OBA #4114
320 S. Boston, Ste. 1130
Tulsa, OK 74103

Kenneth Daniel Hinkle, OBA #4225
3350 Highway 6, Suite 182
Sugar Land, TX 77478

Steven Erik Hjelm, OBA #17230
9010 S. Darlington Ave.
Tulsa, OK 74137

Martha Lynne Hyde, OBA #31102
7854 South 69 East Ave.
Tulsa, OK 74133

Kenneth James Irwin, OBA #11877
15103 Rolling Oaks Dr.
Houston, TX 77070-1264

Val Ryan Jolley, OBA #17218
P.O. Box 2364
Farmington, NM 87499

Carie Dawn Martin Jones, OBA #21090
6100 N. Western Ave.
Oklahoma City, OK 73118

Henry W. Kappel, OBA #4874
P.O. Box 6271
Pago Pago, AS 96799

Bryan Lynn Kingery, OBA #15507
P.O. Box 398
Ada, OK 74820

Louis Klieger, OBA #5074
11 Park Place, Ste. 1208
New York, NY 10007

Charles Vance Knutter, OBA #32035
212 N.E. 2nd St., Apt. 101
Oklahoma City, OK 73104

Kendra Celeste Kuehn, OBA #32248
1007 S.E. 9th Street
Wagoner, OK 74467-7203

Ryan Andrew Kuzmic, OBA #32249
1722 S. Carson Ave., Apt. 2207
Tulsa, OK 74119

Stuart Thomas MacDonald, OBA #14504
Department of Finance
100 N. University Dr.
Edmond, OK 73034

David Charles Mainprize, OBA #30779
1721b W. Easton St.
Tulsa, OK 74127

Michael McLennon, OBA #13382
3740 Deer Crossing
Edmond, OK 73025

Glenn Martin Mirando, OBA #14282
2125 E. 31st St.
Tulsa, OK 74105

Rhoda Jane Mull, OBA #17790
23 Sharpley Dr.
Chadds Ford, PA 19317

Donna Lane Nolan, OBA #5215
524 Jean Marie
Norman, OK 73069

Whitney Daley Petty, OBA #21029
9301 San Lucas
Austin, TX 78737

Bridget Elizabeth Rains, OBA #31691
101 Darwin Rd.
Edmond, OK 73034

Laure M. Resides, OBA #19521
12113 Cliff Rose Drive
Oklahoma City, OK 73162

Margarita Solis, OBA #18998
4123 W. Main St., Apt. H
Norman, OK 73072-4566

Nicholas J. Stockdale, OBA #31429
2433 N.W. 54th St.
Oklahoma City, OK 73112

Duncan Harold Strickland, OBA #32933
20333 State Hwy. 249, #200
Houston, TX 77070

Lorin Marc Subar, OBA #31296
10440 N. Central Expy., Suite 520
Dallas, TX 75231

Rebecca K. Tallent, OBA #8834
3816 N. Tacoma
Oklahoma City, OK 73112-6344

Leslie Dillon Thomas, OBA #31794
9191 Siegen Lane, Ste. 5B
Baton Rouge, LA 70810





	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;2017 OK 59, 397 P.3d 1286, STATE ex rel. OKLAHOMA BAR ASSOCIATION v. HYDECited


	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
